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      ~AO 245B (CASD) (Rev. 4/14)    Judgment in a Criminal Case
                 Sheet I



                                               UNITED STATES DISTRICT CollJm\Y\ 9 M\ 8: 20
                                                   SOUTHERN DISTRICT OF CALIFORNIA~ H,;'" 1\.'L 'C"'- ~ ~ L/   .n :cy ~C U P:} '.
                                                                                                          k j C 1 l: t t. !~Io.\r ' J ";i .•


                      UNITED STATES OF AMERICA                                       JUDGMENT IN            ACRIMINAL CASF9\7"
                                         V.                                          (For Offenses Comm*~d On or After NovemberU~fl1.~"')

                      JENNIFER ANN MARTINEZ (2)                                      Case Number: 14CR0883-BTM
                                                                                     Sandra Hourani, Federal Defenders Inc.
                                                                                     Defendant's Attorney
     REGISTRATION NO. 46736298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) ONE OF THE INFORMAnON
     o was found guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
             after a plea of not guilty.
             Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                          Nature of Offense                                                                            Number(s)
8 USC 1324(a)(2)(B)(iii) and            BRINGING IN ILLEGAL ALIENS WITHOUT PRESENTATION; AIDING                                                    1
18 USC 2                               AND ABETTING




        The defendant is sentenced as provided in pages 2 through                4          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  o   The defendant has been found not guilty on count(s)
                                      ----------------------------------------------
  O Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0 are 0 dismissed on the motion of the United States .
 ..18] ~sessment: $100.00 to be paid at the rate of $25 per quarter through the Inmate Financial Responsibility Program.


  18] Fine waived                                    o    Forfeiture pursuant to order filed
                                                                                                  ----------                   , included herein.
          IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               MAY 16,2014




                                                                                                                                              14CR0883-BTM
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     AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
                Sheet 2 -Imprisonment

                                                                                                     Judgment - Page _..;;2~ of      4
          DEFENDANT: JENNIFER ANN MARTINEZ (2)
          CASE NUMBER: 14CR0883-BTM
                                                                 IMPRISONMENT
                The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
                SIX (6) MONTHS




            o   Sentence imposed pursuant to Title 8 USC Section 1326(b).
                                                                                                        BARRY D MOSKOWITZ
            181 The court makes the following recommendations to the Bureau of Prisons:                 UNITED STATES DISTRICT JUDG
                That the defendant serve her sentence in an institution in California to facilitate family visits.




            o   The defendant is remanded to the custody of the United States Marshal.

            o   The defendant shall surrender to the United States Marshal for this district:
                  Oat                                  Oa.m.       Dp.m.         on _ _ _ _ _ _ _ _ _ _ __

                     as notified by the United States Marshal.

            o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 o   before
                              --------------------------------------------------------------------------
                 o   as notified by the United States Marshal.
                 o   as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
          I have executed this judgment as follows:

                Defendant delivered on                                                   to

          at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                   UN1TED STATES MARSHAL


                                                                            By ________~~~~~~~~~~-----------
                                                                                                DEPUTY UNITED STATES MARSHAL




                                                                                                                           14CR0883-BTM
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AD 2458 (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page    --L...- of          4
DEFENDANT: JENNIFER ANN MARTINEZ (2)                                                                   a
CASE NUMBER: 14CR0883-BTM
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TWO (2) YEARS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug ~ests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month dunng
the term of supervision, unless otherwise ordered by court.

o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of 2000,J)ursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant sha1l comply with tfie requirements of the Sex Offender Registration ani:! Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such Ime
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         ST ANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without tbe permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer fur schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit conIlScation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to conIum the
          defendant's compliance with such notification requirement.

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            AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
                       Sheet 4 - Special Conditions
                                                                                                                  Iudgment-Page --L.. of _ _4.:-.._ _
            DEFENDANT: JENNIFER ANN MARTINEZ (2)
            CASE NUMBER: 14CR0883-BTM                                                                     •

                                                 SPECIAL CONDITIONS OF SUPERVISION
         Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
     181 a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
         a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
         this condition.

     o Participate in a program of       or alcohol abuse treatment including testing and counseling, with at least I 8 tests per month and 1 to 8
                                       drug
       counseling sessions per month as directed by      probation officer.
                                                           the
                                                                                                                            to


     o Not transport, harbor, or assist undocumented aliens.
     o Not associate with undocumented aliens or alien smugglers.
     o Not reenter the United States illegally.
     181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
     181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
     181 Not possess any narcotic drugor controlled substance without a lawful medical prescription.
     o Not associate with known users of,       ~mugglers
                                                      of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
     o Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
       report and available psychological evaluations the mental health provider. as approved by
                                                             to                                            probation officer. The defendant shall
                                                                                                          the
         consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


     o   Take no medication containing a controlled substance without valid medical prescription. and provide proof of prescription to the probation
         officer, if directed.
     o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
     o Reside in a Residential Reentry Center
       placement.
                                                     (RRC) as directed by the probation officer for a period of    days upon release. This is a non punitive

     181 Seek and maintain full time employment and/or Schooling or a combination of both.
     181 Resolve all outstanding warrants within 90 days.
     o Complete             hours of community service in a program approved by the probation officer within
     o
     o IfStates
           deported. excluded. or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
                illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
         suspended while the defendant is out of the United States after deportation. exclusion. or voluntary departure.




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